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                 EXHIBIT 14
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                    DOCUMENTS FOR WHICH THE UNITED STATES HAS FAILED TO PROVIDE ADEQUATE
          DESCRIPTIONS TO DEMONSTRATE THAT THEY ARE PROTECTED BY THE DELIBERATIVE PROCESS PRIVILEGE

 DOCUMENT NUMBER         DATE            TYPE                                                  DESCRIPTION
HHC011-20422046    01/25/1990     Memorandum               Proposed Arkansas Medicaid Disallowance of Prescription Drug Claim (Your Reference
                                                           AR/90/002/MAP)
HHC013-16421645    11/02/1999     Memorandum               Uniform Drug Pricing Project—Action
HHC901-02210222    Not provided   List                     Response to Recent Communications
HHC901-03150315    05/XX/1997     Stickie/Note
HHC901-06810681    Not provided   File Folder              File Folder with handwritten DOJ-PM sticker
HHC901-06820682    XX/XX/XXXX     Chart                    CY 1999 Data (95%) Complete
HHC901-07160723    Not provided   Program Memorandum       Change Request 1232
                                  Intermediaries /
                                  Carriers
HHC901-09520952    Not provided   Notes                    Handwritten
HHC901-09720972    Not provided   Notes                    Handwritten
HHC901-09950996    XX/XX/XXXX     Note                     Acquisition and Grants Matter (Handwritten)
HHC901-09970997    Not provided   Note
HHC902-00670067    Not provided   Note                     Re: Revised Drug Language in Revised Draft Fraud and Abuse Bill
HHC902-00680079    05/06/1998     Memo with                Comments on Physician NPRM
                                  Attachments
HHC902-00940097    12/13/1995     Memo with Attachment     Re: Meeting on Drug Payment Policy Options
HHC902-03150315    05/XX/1997     Stickie/Note
HHC902-05630573    02/28/1991     Draft with Attachments   Suggested Draft Language for use in Response to James L. Oberstar On Behalf of His
                                                           Constituent June P. Van Horn Regarding Reimbursement for Purchase of Brand Name
                                                           Drugs
HHC902-11051106    11/03/1987     Form with Attachment     Public Inquiry Request for Assistance from Michael A Carbonne with Draft Response
                                                           Language Attached
HHC902-11071107    04/13/1988     Note                     Comment to Draft OEP Response to Region X Regarding Oregon Section 1915(b) Waiver
                                                           Request - - Contracting for Phamaceutical Goods and Services
HHC903-00590061    07/10/1990     Report                   SECBRIEF re: Drugs
HHC903-01030110    08/11/1988     Memo                     Drug Reimbursement Reform Regulations (FUL)
HHC903-01110114    02/18/1987     Draft Memo with          Medicaid Drug Payment Policy
                                  attached note
HHC903-01180019    Not provided   Note                     Medicaid Drug Payment Policy
HHC903-01220124    12/22/1986     Note with attached       Re: memo on the “flying feds”
                                  memo
HHC903-01340137    Not provided   Memo                     Medicaid Pharmaceutical Payment Reform—DECISION
HHC903-01500154    03/06/1987     Draft Regulation         Medicaid Drug Reimbursement

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 DOCUMENT NUMBER         DATE             TYPE                                                   DESCRIPTION
HHC903-01550173    Not provided   Handwritten Draft         Medicaid Drug Reimbursement Reform
HHC903-02580326    11/21/1984     Memo                      Federal Prescription Drug Enforcement Policies - - Decision
HHC903-05020508    05/18/1995                               Recommendations Regarding Medicare Coverage Of Drugs Necessary For The Effective
                                                            Use Of External Infusion Pumps
HHC903-05690573    Not provided   Draft                     Medicare Carrier Manual Re: Coverage Issues
HHC903-05740583    09/10/1993     Fax and attachements to   Request for Legal Opinion on Coverage of Outpatient Prescription Drugs Used in
                                  Anne Marie Hummel         Conjunction with Durable Medical Equipment
                                  from Sarah Frances
HHC903-05950595    08/08/1995     Proposed Criteria         Proposed Criteria for Medicare Coverage of IV Infusion Pump
HHC903-06500650    08/14/1996     Memo                      Insulin Infusion Pumps and Bob Wren
HHC903-07380738    11/XX/1993     Memo                      OIG Final Report: Medicare Home Infusion Therapy
HHC903-07310732    Not provided   Draft HCFA response       Page 2 of a draft HCFA Response
                                  with handwritten
                                  notations
HHC903-07330737    11/02/1993     Memo and Drafts           Agency Comments on OIG Final Report, “Medicare Home Infusion
HHC903-07390739    Not provided   Note                      OIG Final: Medicare Home Infusion Therapy – OIE-02-92-00420
HHC903-07400748    05/0801995     Handwritten letter and    January 13, 1995, DMERC Medical Draft Prolicy for Notice and Comment re: External
                                  attachment                Infusion Pumps
HHC903-08130821    07/29/1997     Draft                     Comments re: OIG Report OEI-XX-XXXXXXX (draft)
HHC904-00470058    01/09/1994     Report of Contact and     Contact: Robin Schneider, OIG/OGC (Drafts re: anti-kickbacks)
                                  attachments
HHC904-00740075    10/31/1994     Note                      Re: Formulary Restrictions Based on Age Criteria
HHC904-00810082    08/21/1990     Memo                      OGC Opinion Regarding Provider Agreement and Direct Payment Issues
HHC904-00830089    01/23/1990     Memo                      Memo and attachment
HHC906-01870192    11/06/1996     Typewritten Notes         PE RVU SUM
HHC907-07230724    11/20/1997     Notes                     Handwritten notes from phone conversation with Barbara Douglas
HHC907-09680974    07/20/1998     Handwritten Notes         Re: IR Call
HHC907-10691073    Not provided   Memo                      WA 02-022 With Attachment
HHC908-08710871    Not provided   Notes                     Handwritten Notes Re: Public Notice Issuance
HHC908-09820982    Not provided   Post-It-Notes             Post-It-Note
HHC908-09850985    Not provided   Post-It-Note #24          Post-It-Note #24
HHC908-10861086    Not provided   Facsimile Transmission    Facsimile Transmission Request
                                  Request
HHC908-10901090    Not provided   Handwritten Notes         Handwritten Notes
HHC908-12571257    12/12/1198     Memo                      Lupron/Zolodex Letter
HHC908-12601260    Not provided                             Post-It-Note
HHC908-12731276    Not provided   Declaration Of Cecilia    Declaration Of Cecilia Marina C. Prela
                                  Marina C. Prela

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 DOCUMENT NUMBER         DATE              TYPE                                                 DESCRIPTION
HHC908-12771279    Not provided   Declaration Of Jann M.   Declaration Of Jann M. Robinson
                                  Robinson
HHC908-12901260    XX/XX/XXXX     Post-It-Note             Post-It-Note
HHC908-13241327    Not provided                            Handwritten Notes
HHC908-13541354    03/20/1996     Email                    Anti-Emetics – Kytril-Reply-Reply
HHC908-13561360    12/26/1995     Attachment 1             Date: December 26, 1995
HHC908-13741374    Not provided   Handwritten Note –       Handwritten Note – Predecisional
                                  Predecisional
AWP901-01730173    08/20/2002     Phone message            Message for John Neville from Anne Vickery on 8/20 w/handwritten notes dated 8/21/02
AWP901-02050208    04/15/2002     Email                    Re-Aranesp
AWP901-02130222    05/18/1999     Minutes                  Steering Committee Conference Call
AWP901-02230225    06/23/1997     Handwritten note         Re: last steering committee consensus concerning procrit
                                  w/attachments
AWP901-02570257    08/29/2002     Fax Transaction Report   Report for 5 page fax (faxed document not attached)
AWP901-03090334    06/11/2002     Correspondence file      Correspondence to and from Melanie Combs
AWP901-03990414    10/21/2003     Email                    Subject: CONFIDENTIAL: Re-Review of E CR 2963-Change ini Coding on Medicare
                                                           Claims for Aranesp & EPO
AWP901-05690569    02/04/1998     Handwritten Note         Handwritten Note
AWP901-05730590    03/15/2001     Email w/attachment       Steering Committee Agenda – March 2001 w/attached email & handwritten note re:
                                                           Discussion Guide for LHRH
AWP902-03260326    Not provided   Email                    Change Requests 1663
AWP902-03840388    04/26/2002     Fax with Attachments     Claims To Be Adjusted
AWP902-04880488    06/17/1997     Memo                     CMD Steering Committee Conference Call Minutes (with Notations)
AWP902-05320533    10/03/1997     Fax with Attachment      Region A Medical Policy Change
AWP902-05920592    Not provided   Label                    Potentially Privileged Materials
AWP902-05930597    01/13/1995     Draft                    Region C DMERC Composite Draft re External Infusion Pumps
AWP902-06100614    01/13/1995     Draft                    Region C DMERC Composite Draft re Infusion Pump
AWP902-06150617    06/12/1995     Memo                     Comment – Infustion Pump Draft RMRP
AWP902-06180625    11/18/1994     Draft                    DMERC Proposed Regional Medical Review Policy re External Infusion Pumps (with
                                                           Handwritten Notes)
AWP902-06260637    12/18/2003     Subpoena with            Inspection and Copying of Documents on Schedule A, Civil Case MDL No.: 1456, Case
                                  Attachments              Number: Civil Action No. 01-CV-12257PBS (D. Mass.)
AWP902-06600666    01/02/2004     Memo                     Carrier Subpoenas Seeking Documents Related to Phamaceutical litigation




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